











&nbsp;
COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-03-065-CR
&nbsp;
HAROLD ROBERT PLANTS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT 
&nbsp;
V.
&nbsp;
THE STATE OF TEXAS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;STATE 
&nbsp;
------------
&nbsp;
FROM THE 
355TH DISTRICT COURT OF HOOD COUNTY 
&nbsp;
------------
&nbsp;
OPINION
&nbsp;
------------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Harold Robert Plants appeals from the trial court’s revocation 
of his community supervision for felony DWI.  We will affirm. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 4, 1999, the trial court sentenced appellant to ten years’ 
confinement for felony DWI and placed him on community supervision for ten 
years.  On the morning of June 20, 2002, appellant knocked on the door of his 
next-door neighbors, Clyde and Doris Carnes.  When Mrs. Carnes opened the 
door, appellant asked for Mr. Carnes.  Mrs. Carnes then helped her sixty-five-year-old husband, who had been blinded by a stroke, to the front porch.  When 
Mr. Carnes stepped onto the porch, appellant punched him in the mouth with 
his fist.  Mrs. Carnes yelled at appellant and asked why he hit Mr. Carnes.  
Appellant responded, “I’m going to kill the SOB.”  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 27, 2002, the State filed a motion to revoke appellant’s 
community supervision, alleging that appellant intentionally or knowingly caused 
bodily injury to an elderly and disabled person, Clyde William Carnes, on June 
20, 2002.  The trial court conducted a hearing on the State’s motion to revoke 
on December 17, 2002, found the allegations in the motion to be true, and 
imposed a sentence of eight years’ confinement.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his sole point, appellant contends that the trial court abused its 
discretion by revoking his community supervision because the evidence is 
insufficient to support the trial court’s finding of true to the allegation that he 
intentionally or knowingly caused bodily injury to a disabled person over sixty-five years of age.  See Tex. Penal Code Ann. § 22.04(a) (Vernon 2003).  
Appellant asserts that there is no evidence that he knew that the victim was 
elderly or disabled.  In response, the State contends it was not required to 
prove that appellant knew the victim was elderly or disabled, and that if it was 
required to prove that appellant knew the status of the victim, there is sufficient 
evidence that appellant did have such knowledge. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We review an order revoking community supervision under an abuse of 
discretion standard.  Cardona v. State, 665 S.W.2d 492, 493 (Tex. Crim. App. 
1984); Jackson v. State, 645 S.W.2d 303, 305 (Tex. Crim. App. 1983).  In a 
revocation proceeding, the State must prove by a preponderance of the 
evidence that the defendant violated the terms and conditions of community 
supervision.  Cobb v. State, 851 S.W.2d 871, 873 (Tex. Crim. App. 1993).  
The trial court is the sole judge of the credibility of the witnesses and the 
weight to be given their testimony, and we review the evidence in the light 
most favorable to the trial court’s ruling.  Cardona, 665 S.W.2d at 493; Garrett 
v. State, 619 S.W.2d 172, 174 (Tex. Crim. App. [Panel Op.] 1981); Allbright
v. State, 13 S.W.3d 817, 819 (Tex. App.—Fort Worth 2000, pet. ref’d).  Proof 
by a preponderance of the evidence of any one of the alleged violations of the
conditions of community supervision is sufficient to support a revocation order. 
Moore v. State, 605 S.W.2d 924, 926 (Tex. Crim. App. [Panel Op.] 1980);
Sanchez v. State, 603 S.W.2d 869, 871 (Tex. Crim. App. [Panel Op.] 1980). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 22.04 of the Texas Penal Code provides in pertinent part: 
(a) A person commits an offense if he intentionally,
knowingly, recklessly, or with criminal negligence, by act or
intentionally, knowingly, or recklessly by omission, causes to a
child, elderly individual, or disabled individual:
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;. . . . 
&nbsp;
(3) bodily injury. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;. . . . 
&nbsp;
[(c)](2) “Elderly individual” means a person 65 years of 
age or older. 
&nbsp;
(3) “Disabled individual” means a person older than 14 
years of age who by reason of age or physical or mental 
disease, defect, or injury is substantially unable to protect 
himself from harm or to provide food, shelter, or medical care 
for himself. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;. . . . 
&nbsp;
(f) An offense under Subsection (a)(3) is a felony of the third degree 
when the conduct is committed intentionally or knowingly. 
&nbsp;
Id. § 22.04(a)(3), (c)(2), (3), (f).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An offense under section 22.04(a) is a result-oriented crime.  Kelly v. 
State, 748 S.W.2d 236, 239 (Tex. Crim. App. 1988); Maupin v. State, 930 
S.W.2d 267, 268 (Tex. App.—Fort Worth 1996, pet. ref’d).  In other words, 
it is the intent to cause the result—bodily injury to an elderly or disabled 
person—that is the gravamen of the offense.  Kelly, 748 S.W.2d at 239.  Thus, 
if the actor is unaware of the elderly or disabled status of the victim, the intent 
requirement of the statute is not satisfied.  Therefore, the State in this case 
was required to show by a preponderance of the evidence that appellant 
intended to injure an elderly or disabled person to support the trial court’s 
finding of true to the section 22.04(a) allegation in the motion to revoke 
appellant’s community supervision. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record shows that Mr. Carnes is over sixty-five years old and blind.  
It further shows that appellant lived next door to the Carneses for about eight 
years and that he knew them on a first-name basis.  Mr. Carnes was familiar 
enough with appellant to recognize him by the sound of his voice.  Mrs. Carnes 
testified that she had to help her elderly, blind husband to the door so that he 
could talk to appellant.  At a minimum, this evidence is sufficient to prove by 
a preponderance of the evidence that appellant knew that Mr. Carnes was 
blind.  Thus, the trial court did not abuse its discretion by revoking appellant’s 
community supervision. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s point is overruled.  We affirm the judgment of the trial court.  
&nbsp;
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JOHN CAYCE 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CHIEF JUSTICE 

PANEL F:&nbsp;&nbsp;&nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ. 
&nbsp;
PUBLISH
&nbsp;
DELIVERED: December 31, 2003


